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FORM 9. Certificate of Interest                                                      Form 9 (p. 1)
                                                                                      March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2023-1556
   Short Case Caption 7HDP6\VWHPV,QWHUQDWLRQDO//&Y6HFUHWDU\RIWKH'HSDUWPHQWRI+RPHODQG6HFXULW\
   Filing Party/Entity Team Systems International, LLC



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        03/08/2023
  Date: _________________                    Signature:    /s/ James Y. Boland

                                             Name:         James Y. Boland
                Case: 23-1556         Document: 4      Page: 2        Filed: 03/08/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable
                                      □                                ‫܆‬
                                                                       ✔ None/Not Applicable
                                                                       □
   7HDP6\VWHPV
   ,QWHUQDWLRQDO//&




                                  ‫܆‬
                                  □      Additional pages attached
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FORM 9. Certificate of Interest                                                     Form 9 (p. 3)
                                                                                     March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬
 □        None/Not Applicable              ‫܆‬
                                           □         Additional pages attached

       -DPHV<%RODQG              Lindsay M. Reed                9HQDEOH//3




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 a Yes (file separate notice; see below) ‫܆‬
 ‫܆‬                                       □ No
                                                ✔
                                                              a N/A (amicus/movant)
                                                              ‫܆‬
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 □
 ✔        None/Not Applicable              ‫܆‬
                                           □         Additional pages attached
